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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                     RICHMOND DIVISION

                                                                           )
     In re:                                                                )    Chapter 11
                                                                           )
     LE TOTE, INC., et al.,1                                               )    Case No. 20-33332 (KLP)
                                                                           )
                              Debtors.                                     )    (Jointly Administered)
                                                                           )

                   ORDER GRANTING SECOND INTERIM FEE
             APPLICATION OF NFLUENCE PARTNERS AS INVESTMENT
       BANKER FOR THE DEBTORS FOR COMPENSATION FOR PROFESSIONAL
     SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED FOR
     THE PERIOD FROM NOVEMBER 1, 2020 TO AND INCLUDING JANUARY 31, 2021

              Upon the application (the “Interim Fee Application”)2 of HMAdviseCo, LLC d/b/a

 Nfluence Partners (“Nfluence”), the investment banker for the above captioned debtors and debtors

 in possession (collectively, the “Debtors”), for entry of an order (this “Order”), pursuant to

 sections 328, 330 and 331 of the Bankruptcy Code, Bankruptcy Rule 2016, Local Bankruptcy Rule

 2016-1, and the Interim Compensation Order, for allowance of interim compensation for

 professional services rendered by Nfluence during the period from November 1, 2020 through and

 including January 31, 2021 (the “Interim Compensation Period”) in the amount of $775,000.00

 and reimbursement of expenses incurred during such period in connection with such services in

 the amount of $0.00; and this Court having determined that the legal and factual bases set forth in

 the Interim Fee Application establish just cause for the relief granted herein; and after due



 1
       A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://cases.stretto.com/letote/. The location of the Debtors’ service address is
       250 Vesey Street, 22nd Floor, New York, New York 10281.

 2
       Unless otherwise stated, all capitalized terms used but not otherwise defined herein shall have the meanings
       ascribed to such terms in the Interim Fee Application.



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 deliberation and sufficient cause appearing therefore,

         IT IS HEREBY ORDERED THAT:

         1.     The Interim Fee Application is GRANTED as set forth herein.

         2.     Nfluence allowed compensation for professional services rendered during the

 Interim Compensation Period in the amount of $775,000.00.

         3.     Nfluence is allowed reimbursement of expenses incurred during the Interim

 Compensation Period in connection with its services to the Debtors in the amount of $0.00.

         4.     The Debtors are authorized and directed to pay Nfluence all fees and expenses

 allowed pursuant to this Order, less any amounts previously paid for such fees and expenses.

         5.     The Debtors are authorized to take all actions necessary to effectuate the relief

 granted by this Order in accordance with the Interim Fee Application.

         6.     To the extent that no further compensation is required, the Interim Fee Application

 shall be deemed a final fee application.




          Mar 3 2021                               /s/ Keith L Phillips
  Dated: ____________
  Richmond, Virginia                                United States Bankruptcy Judge

                                                   Entered On Docket: Mar 4 2021




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  WE ASK FOR THIS:

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  Peter J. Barrett (VA 46179)
  Jeremy S. Williams (VA 77469)
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  - and -

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  Co-Counsel to the Debtors and Debtors in Possession


  SEEN AND AGREED:

  /s/ Elisabetta G. Gasparini
  Elisabetta G. Gasparini
  Office of the United States Trustee
  1835 Assembly Street
  Columbia, SC 29201
  Telephone: (803) 765-5250
  Office of the United States Trustee




                                     CERTIFICATION OF ENDORSEMENT
                                  UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

 Pursuant to Local Bankruptcy Rule 9022-1(C), I hereby certify that the foregoing proposed order has been endorsed
                                     by or served upon all necessary parties.

                                            /s/Jeremy S. Williams




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